[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION
The plaintiff, Melvin G. Bryant, has appealed from a decision of the Employment Security Board of Review, (Board), which denied him unemployment compensation, affirming a decision of the referee.
After a full hearing, where the administrator and the plaintiff presented argument and after a plenary review of the record, the court finds that there was sufficient evidence to support the findings of the referee. The referee properly concluded, based on applicable law, that the plaintiff was not CT Page 4409 eligible for unemployment benefits.
Accordingly, the decision of the Board, affirming the decision of the referee is, in turn, affirmed and the plaintiff's appeal is dismissed.
SPALLONE, STATE TRIAL REFEREE